                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                               No. 16-CR-1020-LRR
 vs.                                              ORDER REGARDING
                                             MAGISTRATE’S REPORT AND
 DEVIN DAWSON,                                    RECOMMENDATION
                                              CONCERNING DEFENDANT’S
               Defendant.                            GUILTY PLEA
                                ____________________

                      I. INTRODUCTION AND BACKGROUND
       On May 26, 2016, a one-count Indictment was filed against Defendant,
Devin Dawson.       On February 7, 2017, Defendant appeared before United States
Chief Magistrate Judge C.J. Williams and entered a plea of guilty to Count 1 of the
Indictment. On February 8, 2017, Judge Williams filed a Report and Recommendation
in which he recommended that the court accept Defendant’s guilty plea.                   On
February 9, 2017, Defendant filed a Waiver of Objections to Report and Recommendation.
The court, therefore, undertakes the necessary review of Judge Williams’s
recommendation to accept Defendant’s plea in this case.
                                   II. ANALYSIS
       Pursuant to statute, this court’s standard of review for a magistrate judge’s report
and recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate judge.




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28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Criminal Procedure 59(b) provides for
review of a magistrate judge’s report and recommendation on dispositive motions, where
objections are made, as follows:
             The district judge must consider de novo any objection to the
             magistrate judge's recommendation. The district judge may
             accept, reject, or modify the recommendation, receive further
             evidence; or resubmit the matter to the magistrate judge with
             instructions.
Fed. R. Civ. P. 59(b)(3).1
      In this case, Defendant has waived his rights to object to the Report and
Recommendation, and it appears to the court upon review of Judge Williams’s findings and
conclusions that there is no ground to reject or modify them. Therefore, the court
ACCEPTS Judge Williams’s Report and Recommendation of February 8, 2017, and
ACCEPTS Defendant’s plea of guilty to Count 1 of the Indictment.
      IT IS SO ORDERED.
      DATED this 9th day of February, 2017.




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         United States v. Cortez-Hernandez, No. 15-2314, 2016 WL 7174114, at *3 (8th
Cir. Dec. 9, 2016) (per curiam), suggests that a defendant may have the right to de novo
review of a magistrate judge’s recommendation to accept a plea of guilty even if no
objection is filed. But see 28 U.S.C. § 636(b)(1); Fed. R. Crim. P. 59(b). The district
court judge will undertake a de novo review of the Report and Recommendation if a
written request for such review is filed within fourteen days after this order is filed.

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